        Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 1 of 32




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

PPS DATA, LLC,                          )
                                        )
          Plaintiff                     )
          Counterclaim Defendant,       )      Civil Action No.
                                        )      1:15-CV-00084-AT
          v.                            )
                                        )
VSOFT CORPORATION and                   )
VSERVE, INC.                            )
                                        )
                Defendants              )
                Counter Claimant.       )
                                        )

   PLAINTIFF PPS DATA LLC’S MOTION TO DISMISS DEFENDANT
        VSOFT CORPORATION’S INEQUITABLE CONDUCT
      COUNTERCLAIMS AND STRIKE PARALLEL DEFENSES

      Plaintiff PPS Data, LLC (“PPS Data”) moves pursuant to Fed. R. Civ. P. 12(b)(6)

to dismiss Defendant Vsoft Corporation’s (“Vsoft”) inequitable conduct counterclaims.

Dkt #19, ¶¶ 57-98.
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 2 of 32




                                           TABLE OF CONTENTS
                                                                                                                       Page

I.    INTRODUCTION AND SUMMARY OF THE ARGUMENT ....................... 1
      A. Vsoft’s Inequitable Conduct Counterclaims Fail To Meet All
         Relevant Legal Standards ........................................................................... 2
      B.        PPS Data’s Patented Technology Was An Innovative and
                Industry-Changing Concept At The Time Of Its Inception ....................... 4
      C.        While Others Have Recognized The Value of PPS Data’s
                Technology And Licensed It, Vsoft Openly Touts Its
                Infringement ............................................................................................... 5
II.   FACTUAL BACKGROUND ............................................................................ 7
III. LEGAL STANDARDS .................................................................................... 10
      A. Clear and Convincing Evidence of Materiality And A
         Specific Intent to Deceive the USPTO ..................................................... 10
      B.        Heightened Pleading Requirements of Rule 9(b) ..................................... 13
IV. COUNT XI OF VSOFT’S COUNTERCLAIMS SHOULD BE
    DISMISSED ..................................................................................................... 14
      A. Vsoft Fails to Meet Rule 9(b)’s Heightened Pleading
         Requirement.............................................................................................. 14
      B.        Vsoft Has Failed to Sufficiently Plead Intent to Deceive ........................ 18
V. COUNTS XII THROUGH XV OF VSOFT’S COUNTERCLAIMS
   SHOULD BE DISMISSED ............................................................................. 22
VI. VSOFT’S FIFTH AFFIRMATIVE DEFENSE SHOULD BE
    STRICKEN ...................................................................................................... 24




                                                               i
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 3 of 32



                                             TABLE OF AUTHORITIES

                                                                                                                          Page(s)

Cases

Aevoe Corp. v. AE Tech. Co.,
   No. 2:12-CV-00053-GMN, 2013 WL 876036 (D. Nev. Mar. 7, 2013)................. 12, 14, 17, 24

Akzo N.V. v. ITC,
   808 F.2d 1471 (Fed. Cir. 1986).......................................................................................... 12, 22

Baxter Int’l, Inc. v. McGaw, Inc.,
   149 F.3d 1321 (Fed. Cir. 1998)................................................................................................ 23

Bone Care Int’l, LLC v. Pentech Pharm. Inc.,
   No. 08–CV–1083, 2010 WL 1655455 (N.D. Ill. Apr. 23, 2010) ............................................. 23

Burlington Indus., Inc. v. Dayco Corp.,
   849 F.2d 1418 (Fed. Cir. 1988)................................................................................................ 11

ChemFree Corp. v. J. Walter, Inc.,
   No. 1:04–CV–3711–JTC, 2008 WL 3884365 (N.D. Ga. June 10, 2008) .......................... 15, 17

Correct Craft IP Holdings, LLC v. Malibu Boats,
   2010 WL 598693 (M.D. Fla. Feb. 17, 2010) ..................................................................... 21, 22

Day v. Taylor,
   400 F.3d 1272 (11th Cir. 2005) ................................................................................................. 7

Go Med. Indus. Pty, Ltd. v. Inmed Corp.,
   300 F. Supp. 2d 1297 (N.D. Ga. 2003) ................................................................................ 2, 12

Graphic Packaging Int’l, Inc. v. C.W. Zumbiel Co.,
   No. 3:10–cv–891–J–37JBT, 2011 WL 4862498 (M.D. Fla. Sept. 12, 2011) .............. 14, 15, 25

Hoffman-La Roche, Inc. v. Promega Corp.,
   319 F. Supp. 2d 1011 (N.D. Cal. 2004) ................................................................................... 24

Inc. v. Cameron Int’l Corp.,
    No. 1:13-CV-00281-MLH-SK, 2013 WL 3936889 (E.D. Cal. July 30, 2013) ................. 15, 24

Kimberly-Clark Corp. v. Johnson & Johnson,
   745 F.2d 1437 (Fed. Cir. 1984)................................................................................................ 11

ParkerVision, Inc. v. Qualcomm Inc.,
   924 F. Supp. 2d 1314 (M.D. Fla. 2013) ............................................................................. 13, 20



                                                                 ii
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 4 of 32



Power Integrations, Inc., v. Fairchild Semiconductor Int’l, Inc.,
   Civ. No. 08-309, 2009 WL 4928024 (D. Del. Dec. 18, 2009)................................................. 22

Progressive Games, Inc. v. Shuffle Master, Inc.,
   69 F. Supp. 2d 1276 (D. Nev. 1999) ........................................................................................ 23

Regents of Univ. of Cal. v. Dako N. Am., Inc.,
   No. C 05-03955 MHP, 2009 WL 1083446 (N.D. Cal. Apr. 22, 2009).................................... 16

Rothman v. Target Corp.,
   556 F.3d 1310 (Fed. Cir. 2009).......................................................................................... 12, 21

SAP Am., Inc. v. Purple Leaf, LLC,
   No. C 11-4601 PJH, 2012 WL 2237995 (N.D. Cal. June 15, 2012) ................................. 17, 25

Server Tech., Inc. v. Am. Power Conversion Corp.,
   No. 3:06-CV-00698-LRH, 2011 WL 1743872 (D. Nev. May 6, 2011) ............................ 15, 21

Therasense, Inc. v. Becton, Dickinson & Co.,
   649 F.3d 1276 (Fed. Cir. 2011) (en banc)......................................................................... passim

Statutes

3 U.S.C. ............................................................................................................................................ 3

28 U.S.C. § 1295(a)(l)...................................................................................................................... 1

35 U.S.C. § 103 ................................................................................................................................ 7

the Check 21 Act .............................................................................................................................. 5

Check Clearing for the 21st Century Act ......................................................................................... 5

Check Clearing for the 21st Century Act, Pub. L. No. 108-100, 117 Stat. 1177
   (2003) (codified at 12 U.S.C. §§ 5001–5018) ........................................................................... 5

Other Authorities

Accordingly, under Vsoft’s own factual allegations...................................................................... 18

Fed. R. Civ. P. 9(b) ................................................................................................................. passim

Fed. R. Civ. P. 12(b)(6).......................................................................................................... 1, 4, 14

Fed. R. Civ. P. 12(f) ....................................................................................................................... 24

L.R. 5.1(C) ..................................................................................................................................... 26

L.R. 7.1(D) ..................................................................................................................................... 26

                                                                         iii
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 5 of 32



PTO. Exergen................................................................................................................................. 18

Rule 9(b)’s ..................................................................................................................................... 14

5. Therefore, even as incorrectly interpreted by Vsoft................................................................... 17

U.S. Patent No. 5,930,778................................................................................................................ 7

U.S. Patent No. 6,189,785................................................................................................................ 9

U.S. Patent No. 7,181,430....................................................................................................... passim

U.S. Patent Nos. 7,440,924, 7,624,071, 7,216,106, and 8,660,956 ............................................... 22




                                                                        iv
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 6 of 32




I.       INTRODUCTION AND SUMMARY OF THE ARGUMENT
         As more fully set forth below, Vsoft’s inequitable conduct counterclaims are non-

starters because Vsoft fails to provide even a single shred of evidence that the alleged

misrepresentation was intentional, as required by law. Notwithstanding this fatal flaw,

Vsoft’s counterclaims represent yet another example of why “[t]he habit of charging

inequitable conduct in almost every major patent case has become an absolute plague.

Reputable lawyers seem to feel compelled to make the charge against other reputable

lawyers on the slenderest of grounds.” Therasense, Inc. v. Becton, Dickinson & Co., 649

F.3d 1276, 1289 (Fed. Cir. 2011) (en banc) (quoting Burlington Indus., Inc. v. Dayco

Corp., 849 F.2d 1418, 1422 (Fed. Cir. 1988)).1

         To end this plague, the Federal Circuit significantly raised the requirements for

establishing inequitable conduct in Therasense. Similarly, in Exergen Corp. v. Wal-Mart

Stores, Inc., the Federal Circuit affirmed the district court’s duty to exercise its gate-

keeper function to exclude spurious inequitable conduct claims by rearticulating the

heightened pleading requirements of Fed. R. Civ. P. 9(b) to which inequitable conduct

claims are subject. See 575 F.3d 1312, 1326-27 (Fed. Cir. 2009). Against that backdrop,

and in light of “the Federal Circuit’s general distaste for claims of inequitable conduct,”

1
    The Federal Circuit, which has exclusive jurisdiction over patent appeals pursuant to 28
    U.S.C. § 1295(a)(l), defines inequitable conduct as “an equitable defense to patent
    infringement that, if proved, bars enforcement of a patent.” Therasense, 649 F.3d at
    1285.
                                               1
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 7 of 32




Go Med. Indus. Pty, Ltd. v. Inmed Corp., 300 F. Supp. 2d 1297, 1312 (N.D. Ga. 2003),

Vsoft’s inequitable conduct counterclaims are ripe for dismissal based on the pleadings,

as they are founded on factually and legally erroneous assumptions, completely failing to

comply with the requirements set forth in Therasense and Exergen.

         A.       Vsoft’s Inequitable Conduct Counterclaims Fail To Meet All
                  Relevant Legal Standards
         First, even if all the factual allegations in the counterclaims are proven at trial, they

fall short of meeting the exacting “but-for materiality” standard articulated in Therasense.

649 F.3d at 1291. Vsoft fails to allege any material misstatements of fact. Instead, Vsoft

alleges the five asserted PPS Data patents (“patents-in-suit”) are unenforceable due to

inequitable conduct because Danne Buchanan, a named inventor of the patents-in-suit,

rendered an incorrect opinion to the U.S. Patent and Trademark Office (“USPTO”)

during prosecution of one of the patents-in-suit when he argued that a person would not

be motivated to modify prior art to obtain the patented invention because “in my opinion,

such a modification is not obvious ... and would not provide ‘more efficiency in

processing the deposited checks.’” Dkt #19, ¶ 70 (emphasis added).2 As set forth below,

an opinion is not a material fact. Indeed, in this instance, the declaration was immaterial

2
    Prior art is “the body of knowledge publicly available to a person skilled in the
    particular art or field of the invention at the time the invention was made or one year
    prior to the filing of the patent application . . . In more technical terms, prior art is
    defined as any reference that satisfies any of the [3 U.S.C.] § 102 subsections (a), (b),
    (e), (f), and (g).” 3 Annotated Patent Digest § 15:59 (citations omitted).
                                                 2
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 8 of 32




to the prosecution of the patent, as the patent examiner subsequently maintained the prior

art rejection until later allowing the patent claims on unrelated bases.

         Second, Vsoft’s inequitable conduct counterclaims fail to comply with the

heightened pleading requirements of Fed. R. Civ. P. 9(b), as they lack the “why” and

“how” elements of materiality articulated in Exergen. See 575 F.3d at 1329-30.

Specifically, Vsoft’s counterclaims have the following factual deficiencies:

 Failure to plead the why of inequitable conduct - that is, why the alleged
  misrepresentation is material to the patentability of the patent claims and not
  cumulative of prior art already before the patent examiner; and

 Failure to explain the how of inequitable conduct - that is, how the patent examiner
  would use the allegedly misrepresented information to assess patentability.

         The alleged misrepresentation is not material to patentability because the patent

examiner maintained his prior art rejection in the face of Mr. Buchanan’s declaration

submitted during prosecution of U.S. Patent No. 7,181,430 (‘‘the ‘430 patent”), and

subsequently allowed the ‘430 patent on unrelated grounds. Any one of the Rule 9(b)

pleading failures is sufficient to warrant dismissal of the inequitable conduct

counterclaims. Id., at 1328-30.

         Third, Vsoft’s inequitable conduct counterclaims should be dismissed because

they fail to allege any specific facts establishing the required level of scienter (i.e., (1)

knowledge of the withheld material information or of the falsity of the material

misrepresentation, and (2) specific intent to deceive the PTO). Id., at 1330. Instead

                                                3
WAS:265745.3
               Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 9 of 32




Vsoft makes the conclusory, factually unsupported claim that “Mr. Buchanan’s [alleged]

misrepresentation was made with an intent to deceive the USPTO.” Dkt #19, ¶ 81.

         However, even if Vsoft’s inequitable conduct counterclaims complied with Rule

9(b) and/or established scienter, which they do not, they should still be dismissed under

Rule 12(b)(6) because the alleged misrepresentation was prefaced with “in my opinion,”

and was not a statement of fact (Dkt #19, ¶ 70), and even if the ‘430 patent is limited to

the outsourcing of check processing to third parties, no such analogous limitations exist

in the other four patents-in-suit.

         B.       PPS Data’s Patented Technology Was An Innovative and
                  Industry-Changing Concept At The Time Of Its Inception
         PPS Data owns a portfolio of patents relating to remote deposit technology that its

predecessor developed in the late 1990s. The patents relate to software and hardware that

allow banks, credit unions, merchants, and consumers to clear checks by transmitting

only an image of the check and the data on the check without ever physically routing a

paper check. Although this concept may seem commonplace today, this was a profound

innovation at the time the first PPS Data patent application was filed in 2000.

         Indeed, in 2000, the banking system was reliant on nightly deliveries of paper

checks. As a result, when all airplanes were grounded for days in the aftermath of the

9/11 terrorist attacks, the U.S. banking system nearly came to a halt because checks could

not be transported from “banks of first deposit” to Federal Reserve Banks or “maker

                                              4
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 10 of 32




banks” for settlement. Accordingly, in 2003, Congress passed the Check Clearing for the

21st Century Act (“the Check 21 Act”), allowing the recipient of an original paper check

to create a digital version of the check for processing and presentment, eliminating the

need for further handling of a paper check. Check Clearing for the 21st Century Act,

Pub. L. No. 108-100, 117 Stat. 1177 (2003) (codified at 12 U.S.C. §§ 5001–5018).

         The passage of the Check 21 Act facilitated financial institutions’ more rapid

adoption of PPS Data’s patented remote deposit technologies. Mr. Buchanan, the lead

inventor of the patents-in-suit and PPS Data’s former CEO, is a recognized leader of

electronic check processing and clearing technology, and represented the five major

banking and financial services trade associations (the American Bankers Association,

America’s Community Bankers, the Consumer Bankers Association, the Financial

Services Roundtable, and the Independent Community Bankers of America) before the

Senate Banking Committee on the Check 21 Act.3

         C.     While Others Have Recognized The Value of PPS Data’s
                Technology And Licensed It, Vsoft Openly Touts Its Infringement
         Six leading remote deposit vendors have already licensed PPS Data’s technology,

which makes processing checks cheaper and more efficient. Declaration of B. McKay, ¶

3
    Prior to a corporate reorganization in 2010, PPS Data was known as NetDeposit, which
    was a subsidiary Zions Bancorporation formed in the early 2000s to commercialize the
    patented remote deposit technology. In addition to licensing the patented technology at
    issue in this case, PPS Data is a leading provider of medical and pharmacy payment
    solutions, offered under the ProviderPay brand name.
                                              5
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 11 of 32




2. However, Vsoft has chosen to use PPS Data’s technology without a license,

consequently resulting in the present patent infringement lawsuit. Vsoft’s infringing

conduct includes both (a) providing remote deposit systems to others, including financial

institutions, credit unions, check processing cooperatives, and bank customers, to practice

the patented inventions, and (b) remotely processing checks itself for such entities.

Vsoft’s own website touts the scope of its infringing activities, such as:

         (1) “VSoft’s remote deposit capture solution addresses the capture,
         validation, processing, and transmission of check images from all points of
         presentment.” See Ex. 1; http://www.vsoftcorp.com/products-
         services/remote-deposit-capture

         (2) VSoft Centrum is a central system for deposit processing: “Central Site
         The broad VSoft Centrum™ solution line delivers image-based automation
         efficiencies into your transaction processing operations.” See Ex. 2;
         http://www.vsoftcorp.com/wp-content/uploads/2012/03/VSoft-Corporate-
         Overview.pdf

         (3) “VSoft’s OnView Mobile Deposit architecture can be deployed either
         in-house at the bank or hosted out of our data center.” See Ex. 3;
         http://www.vsoftcorp.com/products-services/remote-deposit-capture/retail-
         deposit/mobile-deposit/

         (4) “Currently VServe services nearly 100 clients directly and over 800
         clients through partner relationships.” See Ex. 4;
         http://www.vsoftcorp.com/vserve/

         Instead of seeking a license like its industry peers, Vsoft has opted for a kitchen

sink approach to defending this case, pleading six affirmative defenses and fifteen




                                               6
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 12 of 32




different counterclaims. PPS Data’s present motion to dismiss is an opportunity to

unclutter the case, so the parties can focus on the merits of the claims.

II.      FACTUAL BACKGROUND
         Vsoft’s inequitable conduct claims are based on a single statement made during

prosecution of the ‘430 patent. On November 23, 2004, Patent Examiner Nga B. Nguyen

issued an Office Action rejecting, among others, pending claim 47 under 35 U.S.C. § 103

as being obvious over U.S. Patent No. 5,930,778 to Terry Geer (“Geer”) in combination

with several other references. Ex. 5 (Nov. 23, 2004 Office Action) at 2. At that time,

claim 47 recited, in relevant part:

         A method for deposit processing at a central site a plurality of original
         checks deposited at a remote site with accompanying deposit information ...
         wherein the central site is not a bank of first deposit for these checks and
         wherein the deposit account designation for each of a plurality of the checks
         is to a different remote bank of first deposit.

         See Ex. 6, (Excerpt from Apr. 30, 2004 Amend.) at 11.4

         The Examiner asserted that although “Geer does not disclose wherein the central

site is not a bank of first deposit for these checks…employing a central site to handle the

deposited checks on behalf of a bank of first deposit is well known in the art. Therefore, it

4
    Because Vsoft’s counterclaims rely on statements made during prosecution of the ‘430
    patent, the prosecution history of the ‘430 patent was incorporated into the
    counterclaims. Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (“[T]he court may
    consider a document attached to a motion to dismiss without converting the motion into
    one for summary judgment if the attached document is (1) central to the plaintiff's claim
    and (2) undisputed.”).
                                               7
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 13 of 32




would have been obvious to one with ordinary skill in the art at the time the invention

was made to modify Geer’s [system] to incorporate the feature above for the purpose of

providing more efficiency in processing the deposited checks.” Ex. 5 at 5.

         On May 6, 2005, prosecuting attorney William Ellis submitted a declaration from

Mr. Buchanan to refute the Examiner’s rationale supporting the obviousness rejection. In

his declaration, Mr. Buchanan stated that:

         “…there is no possible reason why a bank of first deposit would set up a central
         system to process checks for other unrelated banks of first deposit. Thus, in my
         opinion such a modification is not obvious in Geer and would not provide ‘more
         efficiency in processing the deposited checks’ in the Geer operation.”

         Ex. 7 (May 6, 2005 Declaration of Danne Buchanan) at 6 (emphasis in original).

Accordingly, this statement was made in the specific context of rebutting the Examiner’s

proposed modification to the Geer check processing system, opining that the Examiner

relied on inapposite prior art and that there would be no technical reason to make the

modification proposed by the Examiner.

         To the extent Vsoft attempts to take Mr. Buchanan’s statement out of the narrow

context in which it was made to instead relate to broader propositions regarding the state

of the art at the time the invention was filed, the statement becomes cumulative of prior

art that the Examiner already considered. For example, the patent examiner had

previously cited U.S. Patent No. 6,189,785 to Lowery (“Lowery”) for disclosing “the

central site identifying image data errors in the electronic check data received…[and]

                                              8
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 14 of 32




then sending an instruction to the remote site to correct the errors,” and stated that

“employing a central site to handle the deposited checks on behalf of a bank of first

deposit is well known in the art.” Ex. 5 at 3 & 5; see also Ex. 8 (Mar. 21, 2003 Office

Action) at 2 (“Lowery discloses a method for processing at a central site an original

check deposited at a remote site”). The Examiner was, therefore, fully apprised of

relevant prior art and free to draw his own conclusions, irrespective of the opinions

expressed by Mr. Buchanan.

         Importantly, the Examiner was unmoved by Mr. Buchanan’s opinion and issued a

Final Office Action on October 11, 2005, again rejecting the pending claims, including

claim 47. Ex. 9 (Oct. 11, 2005 Office Action) at 3. On May 10, 2006, claim 47 was

amended to include the following claim limitation:

         “the central system transmitting electronic check data directly or indirectly to a
         maker bank or a Federal Reserve Bank or a correspondent bank in a transmission
         having a transmission path that bypasses the MICR capture, deposit accounting,
         cash management, and float processing of the bank of first deposit for that deposit
         transaction.”

         Ex. 10 (Excerpt from May 10, 2006 Amend.) at 12 (emphasis in original)

(hereinafter (“the bypass limitation”)). On November 15, 2006, notably in response to

the May 10, 2006 amendment and not as a result of Mr. Buchanan’s earlier May 6, 2006

declaration, the Examiner issued a Notice of Allowance, indicating that claim 47 was

allowed because the prior art did not disclose or suggest the bypass limitation, or that “the


                                              9
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 15 of 32




central system is separate from MICR capture, deposit accounting, cash management, and

float processing systems for a bank of first deposit.” Ex. 11 (Nov. 15, 2006 Notice of

Allowance) at 3. Significantly, Vsoft acknowledges that this was the reason the ‘430

patent was allowed, consequently confirming the immateriality of Mr. Buchanan’s

opinion. Dkt #19, ¶ 74.

III.     LEGAL STANDARDS

         A.     Clear and Convincing Evidence of Materiality And A Specific
                Intent to Deceive the USPTO
         In its 2011 Therasense decision, an en banc Federal Circuit drastically curtailed

the inequitable conduct defenses that have plagued the patent system for years. 649 F.3d

at 1290 (“This court now tightens the standards for finding both intent and materiality in

order to redirect a doctrine that has been overused to the detriment of the public.”). In

doing so, the Federal Circuit recognized the harm inequitable conduct claims inflict on

courts and litigants:

         [I]nequitable conduct has become a significant litigation strategy…Because
         the doctrine focuses on the moral turpitude of the patentee with ruinous
         consequences for the reputation of his patent attorney, it discourages
         settlement and deflects attention from the merits of validity and
         infringement issues. Inequitable conduct disputes also increase the
         complexity, duration and cost of patent infringement litigation that is
         already notorious for its complexity and high cost.

Id. at 1288 (internal citations and quotation marks omitted). Tellingly, the Federal

Circuit made many of these same observations twenty-five years ago. See e.g.,

                                              10
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 16 of 32




Burlington Indus., Inc. v. Dayco Corp., 849 F.2d 1418, 1422 (Fed. Cir. 1988) (“[T]he

habit of charging inequitable conduct in almost every major patent case has become an

absolute plague.”); see also Kimberly-Clark Corp. v. Johnson & Johnson, 745 F.2d 1437,

1454 (Fed. Cir. 1984) (complaining that the inequitable conduct defense “has been

overplayed, is appearing in nearly every patent suit, and is cluttering up the patent

system.”).

         By tightening the standards for proving inequitable conduct, the Federal Circuit

sent a strong message that inequitable conduct claims, like the claims in this case, need to

stop. Under the Federal Circuit’s new heightened standards, the accused infringer must

prove by clear and convincing evidence that the patentee knew the omitted or

misrepresented prior art was material and that the patentee acted with specific intent to

deceive the PTO. Therasense, 649 F.3d at 1290 (emphasis added); Exergen, 575 F.3d at

1328-29. Merely alleging that “the Applicants deliberately and/or intentionally attempted

to withhold any information regarding [certain prior art]” is insufficient to plead an intent

to deceive. Aevoe Corp. v. AE Tech. Co., No. 2:12-CV-00053-GMN, 2013 WL 876036,

at *10 (D. Nev. Mar. 7, 2013) (internal quotation marks omitted). Materiality and intent

must be analyzed separately, and intent may not be inferred from materiality. Id., see

also Go Med. Indus., 300 F. Supp. 2d at 1312. The level of materiality required to prove




                                             11
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 17 of 32




inequitable conduct is “but-for materiality” i.e., the PTO would not have allowed a claim

had it been aware of the undisclosed prior art. Therasense, 649 F.3d at 1291.

         The Federal Circuit has also found that an alleged mischaracterization of a prior

art reference that was before the PTO and considered by the patent examiner does not

constitute inequitable conduct. See Rothman v. Target Corp., 556 F.3d 1310, 1329 (Fed.

Cir. 2009) (holding that “an attempt to characterize the prior art in a manner favorable to

the attorney’s client” is “far from deception”); Akzo N.V. v. ITC, 808 F.2d 1471, 1482

(Fed. Cir. 1986) (“The mere fact that Du Pont attempted to distinguish the Blades process

from the prior art does not constitute a material omission or misrepresentation. The

examiner was free to reach his own conclusion … .”).

         Regarding intent, the Federal Circuit has found that although intent may be

inferred from indirect and circumstantial evidence, to meet the clear and convincing

evidence standard, “the specific intent to deceive must be ‘the single most reasonable

inference able to be drawn from the evidence.’” Therasense, 649 F.3d at 1290 (quoting

Star Scientific, Inc. v. R.J. Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008)).

“[T]he evidence ‘must be sufficient to require a finding of deceitful intent in the light of

all the circumstances,’” and “when there are multiple reasonable inferences that may be

drawn, intent to deceive cannot be found.” Id. at 1290-91 (emphasis in original) (quoting

Kingsdown Med. Consultants, Ltd. V. Hollister, Inc., 863 F.2d 867, 873 (Fed. Cir. 1988));


                                              12
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 18 of 32




see also ParkerVision, Inc. v. Qualcomm Inc., 924 F. Supp. 2d 1314, 1318 (M.D. Fla.

2013) (dismissing inequitable conduct counterclaims where “specific intent to deceive

[was] not the only or single most reasonable inference to be drawn.”).

         B.     Heightened Pleading Requirements of Rule 9(b)
         In addition to raising the substantive requirements for proving inequitable conduct,

the Federal Circuit reaffirmed inequitable conduct’s heightened pleading requirements

under Fed. R. Civ. P. 9(b). “[I]n pleading inequitable conduct in patent cases, Rule 9(b)

requires identification of the specific who, what, when, where, and how of the material

misrepresentation or omission committed before the PTO.” Exergen, 575 F.3d at 1327.

To comply with Exergen, a counterclaim must: (1) identify a specific individual (not

merely the Applicant, or Applicant’s patent counsel) that knew of the material

information and deliberately withheld or misrepresented it; (2) identify what material

information was withheld or misrepresented; (3) identify which claims and claim

limitations the material information would invalidate; (4) explain with particularity why

the withheld information is material and not cumulative; and (5) explain with

particularity how the Examiner would use the information to assess the patentability of

the claims. Aevoe Corp., 2013 WL 876036, at *7-8.




                                              13
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 19 of 32




         IV.    COUNT XI OF VSOFT’S COUNTERCLAIMS SHOULD BE
                DISMISSED
         In Count XI of its counterclaims, Vsoft alleges that the ‘430 patent is

unenforceable for inequitable conduct based on the declaration submitted by Mr.

Buchanan during prosecution. Count XI falls far short of the pleading requirements of

Rule 9(b), and the limited facts in the pleading fail to state a claim for inequitable

conduct. Count XI should therefore be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).

         A.     Vsoft Fails to Meet Rule 9(b)’s Heightened Pleading Requirement
         Vsoft’s inequitable conduct claims fail to plead “the specific who, what, when,

where, and how of the material misrepresentation or omission committed before the

PTO.” Exergen, 575 F.3d at 1327. Specifically, Vsoft’s pleading at least fails to explain

with particularity (1) why the allegedly misrepresented information is material and not

cumulative; and (2) how the Examiner would use the information to assess the

patentability of the claims. Id., at 1329-30; Graphic Packaging Int’l, Inc. v. C.W. Zumbiel

Co., No. 3:10–cv–891–J–37JBT, 2011 WL 4862498, at *3 (M.D. Fla. Sept. 12, 2011)

(dismissing defendant’s inequitable conduct counterclaims and striking parallel

affirmative defense); ChemFree Corp. v. J. Walter, Inc., No. 1:04–CV–3711–JTC, 2008

WL 3884365, at *8 (N.D. Ga. June 10, 2008) (granting summary judgment on inequitable

conduct counterclaims because defendants failed to demonstrate how the alleged

misrepresentation was material and not cumulative to prior art before the examiner).

                                              14
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 20 of 32




         Vsoft’s pleading merely includes the conclusory statement that “But for Mr.

Buchanan’s misrepresentation, the ‘430 Patent would not have issued.” Dkt #19, ¶ 81.

However, in order to meet the heightened pleading requirements of Rule 9(b), Vsoft’s

pleading must explain why Mr. Buchanan’s alleged misrepresentation was material. See

Graphic Packaging Int’l, 2011 WL 4862498, at *3. Bald assertions of materiality are

insufficient and mandate dismissal. See Server Tech., Inc. v. Am. Power Conversion

Corp., No. 3:06-CV-00698-LRH, 2011 WL 1743872, at *3 (D. Nev. May 6, 2011)

(dismissing inequitable conduct counterclaims for failure to plead why allegedly withheld

prior art is material); Seaboard lnt’l, Inc. v. Cameron Int’l Corp., No. 1:13-CV-00281-

MLH-SK, 2013 WL 3936889, at *5 (E.D. Cal. July 30, 2013) (dismissing inequitable

conduct counterclaim and striking parallel affirmative defense where defendant did not

allege why the allegedly withheld references are material).

         Vsoft’s conclusory statement regarding the materiality of Mr. Buchanan’s alleged

misrepresentation is plainly contradicted by the minimal factual allegations Vsoft actually

pled. Vsoft’s Answer acknowledges, as it must, that the Examiner allowed the patent

claims “after issuing at least two more office actions” subsequent to Mr. Buchanan’s

declaration. Dkt #19, ¶ 74. Indeed, after receiving Mr. Buchanan’s declaration, the

Examiner rejected the claims based on the grounds that Mr. Buchanan’s declaration

attempted to overcome. See Ex. 9, ¶ 6 (repeatedly citing to Geer). Mr. Buchanan’s


                                             15
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 21 of 32




declaration therefore clearly had no effect in overcoming the rejection and obtaining

allowance of the ‘430 patent claims. It follows then that since Mr. Buchanan’s

declaration had no effect in overcoming the rejection or obtaining allowance, Mr.

Buchanan’s declaration was immaterial.

         Additionally, because Mr. Buchanan’s declaration was merely his opinion, as

evidenced by his preface “in my opinion,” it is wholly immaterial. Dkt #19, ¶ 70. An

opinion is not a material fact because “the examiner [is] able reach to his or her own

conclusion regarding the cited…prior art.” Regents of Univ. of Cal. v. Dako N. Am., Inc.,

No. C 05-03955 MHP, 2009 WL 1083446, at *23 (N.D. Cal. Apr. 22, 2009) (no

misrepresentation of material fact in inventor affidavit where “[inventor’s] statement

about [prior art] was qualified by the phrase ‘it is my opinion,’ which can be reasonably

understood to be summarizing the preceding explanations of the prior art - art that was all

before the examiner”).

         Moreover, Vsoft does not even attempt to explain in its pleading why Mr.

Buchanan’s statement is not cumulative of the prior art that was already before the

Examiner, providing another basis to dismiss Vsoft’s counterclaim. ChemFree Corp.,

2008 WL 3884365, at *8; see also Aevoe, 2013 WL 876036, at *8 (“[T]o satisfy the

‘why’ component, Defendants’ counterclaim must also plead with particularity that the

withheld information is not cumulative of the information actually disclosed during


                                            16
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 22 of 32




prosecution.”). Vsoft alleges that Mr. Buchanan’s statement was false because “it was

well known in the banking industry that banks of first deposit were already outsourcing

the processing of checks to a central system.” Dkt #19, ¶ 79. However, earlier in

prosecution, the Examiner asserted that “employing a central site to handle the deposited

checks on behalf of a bank of first deposit is well known in the art.” Ex. 5 at 5.

Therefore, even as incorrectly interpreted by Vsoft, Mr. Buchanan’s opinion was

cumulative of the prior art already of record.

         Vsoft also has not, and cannot, allege how the Examiner would have used the

allegedly misrepresented information to reject the ‘430 patent claims, as required. SAP

Am., Inc. v. Purple Leaf, LLC, No. C 11-4601 PJH, 2012 WL 2237995, at *6 (N.D. Cal.

June 15, 2012) (dismissing inequitable conduct counterclaims where facts pled failed to

show that “the patentee’s misconduct resulted in… receiving an unwarranted claim”)

(quoting Exergen, 575 F.3d at 1292). In fact, Vsoft admits in its counterclaims that the

Examiner ultimately allowed claim 47 because “the prior arts [including Geer] do not

considered [sic] the possibility of: wherein the central system is separate from MICR

capture, deposit accounting, cash management, and float processing systems for a bank of

first deposit.” Dkt #19, ¶74. Vsoft does not allege that any claims were allowed on the

direct basis of Mr. Buchanan’s declaration. Accordingly, under Vsoft’s own factual




                                             17
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 23 of 32




allegations, Mr. Buchanan’s statement was not a “but for” cause to issuance of the ‘430

patent because it had no direct bearing on the issuance of the claims.5

         B.     Vsoft Has Failed to Sufficiently Plead Intent to Deceive
         Vsoft also does not allege any facts to support its allegation that (1) Mr.

Buchanan’s statement was false, (2) that he knew it was false, and (3) that the statement

was submitted with specific intent to deceive the PTO. Exergen, 575 F.3d at 1328-29.

         First, Vsoft alleges that “[a]t the time Mr. Buchanan’s May 6, 2005 declaration

was filed with the USPTO, unrelated banks of first deposit had already implemented the

practice of outsourcing the processing of checks to a central system” and that this

outsourcing was “so widespread and had been going on for so long that it was well

known to persons of ordinary skill in the banking industry.” Dkt #19, ¶ 76. However,

Vsoft cites to no evidence for this bold assertion, merely stating that “upon information

and belief,” nonparties Fiserve, Inc. and Jack Henry & Associates’ “operations met every

limitation of at least claim 47” of the application resulting in the ‘430 patent at the time it

was filed. Id., at ¶¶ 77-78. However, relying “on information and belief,” is legally

sufficient only if the pleading “sets forth the specific facts upon which the belief is

5
    This is further confirmed by the Examiner’s Notice of Allowance, which states
    that the patent claims were allowed because the prior art does not disclose or
    suggest (1) the “bypass limitation,” and (2) the limitation that “the central system
    is separate from MICR capture, deposit accounting, cash management, and float
    processing systems for a bank of first deposit.” Ex. 11 at 3.

                                               18
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 24 of 32




reasonably based.” Exergen, 575 F.3d at 1330 & n.7 (citing additional cases). Vsoft’s

allegation of obscure and vague “operations” by uninvolved third parties, without any

discussion as to what those “operations” were or how they were even remotely related to

the claimed technology, fails to meet this requirement. Vsoft’s allegation “provides

neither the ‘information’ on which it relies nor any plausible reasons for its ‘belief’” that

Mr. Buchanan’s statement was false and, therefore, fails to meet the pleading

requirements of Rule 9(b). Id. at 1330-31.

         Even if Vsoft’s unsupported speculation about the industry practice of outsourcing

is taken at face value, that is not inconsistent with Mr. Buchanan’s opinion as expressed

in his declaration regarding the Geer patent that “there is no possible reason why a bank

of first deposit would set up a central system to process checks for other unrelated banks

of first deposit.” Ex. 7 at 7 (emphasis removed). Mr. Buchanan’s opinion was directed

to possible motivations to modify a specific prior art and was not a commentary on

whether the general practice of outsourcing check processing was well known or not.

Vsoft’s allegations therefore fail to plead any facts from which the single most likely

inference is that a false statement was made with specific intent to deceive the patent

examiner, and must be dismissed. See ParkerVision, 924 F. Supp. 2d at 1318 (dismissing

inequitable conduct counterclaims where “specific intent to deceive [was] not the only or

single most reasonable inference to be drawn” from the alleged misconduct).


                                             19
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 25 of 32




         Second, even if Mr. Buchanan’s statement is assumed to be false, Vsoft fails to

plead a single fact indicating that Mr. Buchanan knew of the alleged falsehood. In

desperation, Vsoft merely speculates that because Mr. Buchanan had 27 years of

experience in the banking industry and was “very familiar with competitor check

processing operations and competitor thinking at the time of the invention,” Mr.

Buchanan “knew or willfully disregarded the fact that it was well known in the banking

industry that banks of first deposit were already outsourcing the processing of checks to a

central system.” Dkt #19, ¶¶ 69 & 79 (quotation omitted). Vsoft does not provide any

evidence to support this egregious allegation. For example, Vsoft does not provide any

facts regarding when outsourcing to central systems was established, who established it,

how it was established, who was using it, or where it was being used at the time. Vsoft

audaciously makes a naked assertion that outsourcing was “well known” and expects it to

be accepted as true. The court should not allow this. See Exergen, 575 F.3d at 1330

(“[N]o facts are alleged from which one can reasonably infer that ... the individual who

made this statement to the PTO was aware of an allegedly contradictory statement on

Exergen’s website.”).6



6
    See also Server Tech., 2011 WL 1743872, at *3 (finding that unsupported allegation
    that patentee had knowledge of allegedly withheld prior art does not permit the Court to
    “reasonably infer that an individual who made the material omissions or
    misrepresentations had knowledge of the falsity of any statements or omissions”).
                                              20
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 26 of 32




         Third, even if Vsoft’s pleadings did sufficiently allege that Mr. Buchanan made a

knowingly false statement, which they do not, Vsoft still fails to plead any facts

suggesting that the statement was made with specific intent to deceive the USPTO. Vsoft

alleges “[on] information and belief, Mr. Buchanan’s misrepresentation was made with

an intent to deceive the USPTO.” Dkt #19, ¶ 81. Vsoft fails to identify what

“information” its belief is based on and the reasons for such belief. Its conclusory

allegations regarding deceptive intent contain no facts from which the Court could infer

an intent to deceive. Correct Craft IP Holdings, LLC v. Malibu Boats, 2010 WL 598693,

at *4 (M.D. Fla. Feb. 17, 2010) (“Pleading deceptive intent on information and belief is

permitted…‘but only if the pleading sets forth the specific facts upon which the belief is

reasonably based.’” (quoting Exergen, 575 F.3d at 1330-31)).

          In addition, Mr. Buchanan’s statement was prefaced as an opinion, which further

confirms that the statement was not made with any intent to deceive. See Rothman, 556

F.3d at 1329 (“[A]n attempt to characterize the prior art in a manner favorable to the

attorney’s client” is “far from deception”); Akzo, 808 F.2d at 1482 (“The mere fact that

DuPont attempted to distinguish…the prior art does not constitute a material omission or

misrepresentation. The examiner was free to reach his own conclusion.”).




                                             21
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 27 of 32




         V.     COUNTS XII THROUGH XV OF VSOFT’S COUNTERCLAIMS
                SHOULD BE DISMISSED
         In Counts XII, XIII, XIV, and XV of its counterclaims, Vsoft alleges

unenforceability of the four other patents-in-suit, U.S. Patent Nos. 7,440,924, 7,624,071,

7,216,106, and 8,660,956 (collectively “the related patents”) based on a theory of

infectious unenforceability. Dkt. No. 19, ¶¶ 83-98. However, for such an allegation to

comply with Rule 9(b), Vsoft must allege an “immediate and necessary relation” between

the related patents and Mr. Buchanan’s alleged misrepresentation. Correct Craft

Holdings, 2010 WL 598693, at *5 (citing Consolidated Aluminum Corp. v. Foseco Int’l

Ltd., 910 F.2d 804, 810-11 (Fed. Cir. 1990)).

         Here, Vsoft merely alleges that the related patents share “subject matter” with the

‘430 patent, without even attempting to explain how Mr. Buchanan’s statement is

material to the claims of each of the related patents. Dkt #19, ¶¶ 85, 89, 93 and 97.

Merely asserting the relationship between patents is “not sufficient to establish the

required ‘immediate and necessary relation’” between the alleged misconduct and the

claims of the related patents. Power Integrations, Inc., v. Fairchild Semiconductor Int’l,

Inc., Civ. No. 08-309, 2009 WL 4928024, at *9 (D. Del. Dec. 18, 2009) (holding that

allegations that patents have related specifications and share some figures are insufficient

to plead infectious unenforceability); see also Bone Care Int’l, LLC v. Pentech Pharm.



                                              22
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 28 of 32




Inc., No. 08–CV–1083, 2010 WL 1655455, at *3 (N.D. Ill. Apr. 23, 2010) (“Defendants

must allege more than a relationship between the patents.”).

         Moreover, the alleged misconduct in the prosecution of the ‘430 patent is

immaterial to the claims of the other four patents. Baxter Int’l, Inc. v. McGaw, Inc., 149

F.3d 1321, 1329 (Fed. Cir. 1998) (finding that alleged misrepresentation in parent patent

application does not render related patent application unenforceable where the alleged

misrepresentation is not material to the claims of the related patent application); see also

Progressive Games, Inc. v. Shuffle Master, Inc., 69 F. Supp. 2d 1276, 1283 (D. Nev.

1999) (applying Baxter). All of Vsoft’s inequitable conduct allegations rely on Mr.

Buchanan’s statement that “there is no possible reason why a bank of first deposit would

set up a central system to process checks for other unrelated banks of first deposit.” Dkt

#19, ¶ 70. This statement apparently relates to the limitation in the ‘430 patent claims

that at least some of the deposits received by the central system include a deposit account

designation “to a different bank of first deposit.” Dkt #1-1, col. 18, II. 28-31. None of the

claims of the related patents include this limitation. Therefore, even assuming arguendo

that Vsoft’s allegations regarding Mr. Buchanan’s statement are true (even though they

are not), the claims of the related patents “‘have no relation to’ the unconscionable act in

question . . . [and] the statement ‘is in no way material’ to the prosecution of the [related

patent] claims.” Hoffman-La Roche, Inc. v. Promega Corp., 319 F. Supp. 2d 1011, 1020


                                             23
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 29 of 32




(N.D. Cal. 2004) (quoting Baxter, 149 F.3d at 1331-32) ). Accordingly, Vsoft’s

counterclaims XII, XIII, XIV, and XV should be dismissed.

         VI.    VSOFT’S FIFTH AFFIRMATIVE DEFENSE SHOULD BE
                STRICKEN
         Vsoft’s fifth affirmative defense should be stricken for the same reasons that

Vsoft’s inequitable conduct counterclaims should be dismissed. This affirmative defense

states, without any supporting factual allegations, that “[t]he patents asserted in the

Complaint are invalid by reason of inequitable conduct perpetuated upon the U.S. Patent

and Trademark Office in the prosecution of the ‘430 Patent.” Dkt #19, at 18.

         Aside from wholly failing to comply with Rule 9(b), because the affirmative

defense apparently relies on the deficient pleadings of Vsoft’s inequitable conduct

counterclaims, the affirmative defense should be stricken as redundant. See Fed. R. Civ.

P. 12(f) (“The court may strike from a pleading an insufficient defense or any redundant,

immaterial, impertinent, or scandalous matter.”); see also Aevoe, 2013 WL 876036, at

*11 (striking inequitable conduct affirmative defenses based on failure to sufficiently

plead inequitable conduct counterclaims); Seaboard Int’l, 2013 WL 3936889, at *6

(striking inequitable conduct affirmative defense for same reasons as dismissing parallel

counterclaims); Graphic Packaging Int’l, 2011 WL 4862498, at *3 n.4 (same).




                                              24
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 30 of 32




         VII. CONCLUSION
         For the reasons set forth above, PPS Data respectfully requests dismissal of

Vsoft’s inequitable conduct counterclaims and affirmative defense.

DATED this 13th day of April, 2015.

                                           Respectfully submitted,

                                           CLAYTON, MCKAY & BAILEY P.C.

                                           ____/Brannon McKay/___________
                                           Brannon C. McKay, GA Bar No. 558603
                                           Benjamin D. Bailey, GA Bar No. 117201
                                           877 Hillwood Dr.
                                           Marietta, GA 30068
                                           Tel. 404-414-8633
                                           Fax. 404-704-0670
                                           bmckay@cmbpc.com
                                           bbailey@cmbpc.com

                                           Anthony H. Son, Admitted Pro Hac Vice
                                           Sean Wooden, Admitted Pro Hac Vice
                                           Andrews Kurth, LLP
                                           1350 I Street, NW, Suite 1100
                                           Washington, DC 20005
                                           Tel. 202-662-2700
                                           Fax. 202-662-2739
                                           AnthonySon@andrewskurth.com
                                           SeanWooden@andrewskurth.com

                                           Counsel for Plaintiff and Counterclaim
                                           Defendant PPS Data, LLC




                                              25
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 31 of 32




                         CERTIFICATE OF COMPLIANCE


         Pursuant to L.R. 7.1(D), the undersigned counsel certifies that the foregoing

brief has been prepared in Times New Roman, 14 point, one of the four fonts and

points approved by the Court in L.R. 5.1(C).


                            CERTIFICATE OF SERVICE
         I certify that on this day I have electronically filed the foregoing PLAINTIFF

PPS DATA LLC’S MOTION TO DISMISS DEFENDANT VSOFT CORPORATION’S

INEQUITABLE CONDUCT COUNTERCLAIMS AND STRIKE PARALLEL

DEFENSES with the Clerk of Court using the CM/ECF Systems, which will

automatically send email notification of such filing to all attorneys of record.

DATED this 13th day of April, 2015.

                                                  Respectfully submitted,



                                                  CLAYTON, MCKAY & BAILEY
                                                  P.C.

                                                        /Brannon McKay/
                                                  Brannon C. McKay
                                                  877 Hillwood Dr.
                                                  Marietta, GA 30068
                                                  Tel. 404-414-8633
                                                  Fax. 404-704-0670

                                             26
WAS:265745.3
           Case 1:15-cv-00084-AT Document 22 Filed 04/13/15 Page 32 of 32




                                             bmckay@cmbpc.com
                                             bbailey@cmbpc.com




                                        27
WAS:265745.3
